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1                                UNITED STATES DISTRICT COURT
2                                     DISTRICT OF NEVADA
3
     JUAN G. DIAZ,                                        Case No.: 3:25-cv-00183-ART-CSD
4
                    Plaintiff,
5                                                                        ORDER
             v.
6
     HAROLD WICKHAM, et al.,
7
                    Defendants.
8

9           On April 8, 2025, plaintiff Juan Diaz, an inmate in the custody of the Nevada

10   Department of Corrections, submitted a civil-rights complaint under 42 U.S.C. § 1983.

11   ECF No. 1-1. Plaintiff has not paid the filing fee for a civil action or applied to proceed in

12   forma pauperis, one of which is required to continue with this action.

13          The fee for filing a civil-rights action is $405, which includes the $350 filing fee and

14   the $55 administrative fee. See 28 U.S.C. § 1914(b). “Any person who is unable to prepay

15   the fees in a civil case may apply to the court for leave to proceed in forma pauperis.”

16   Nev. LSR 1-1. For an inmate to apply for in forma pauperis status, the inmate must submit

17   all three of the following documents to the Court: (1) a completed Application to

18   Proceed in Forma Pauperis for Inmate, which is pages 1–3 of the Court’s approved

19   form, that is properly signed by the inmate twice on page 3; (2) a completed Financial

20   Certificate, which is page 4 of the Court’s approved form, that is properly signed by both

21   the inmate and a prison or jail official; and (3) a copy of the inmate’s prison or jail trust

22   fund account statement for the previous six-month period. See 28 U.S.C.

23   § 1915(a)(1), (2); Nev. LSR 1-2. In forma pauperis status does not relieve an inmate of

24   his or her obligation to pay the filing fee, it just means that the inmate can pay the fee in

25   installments. See 28 U.S.C. § 1915(b).

26          It is therefore ordered that Plaintiff has until June 9, 2025, to either pay the full

27   $405 filing fee or file: (1) a completed application to proceed in forma pauperis with the
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1    inmate’s two signatures on page 3, (2) a completed financial certificate that is signed both

2    by the inmate and the prison or jail official, and (3) a copy of the inmate’s trust fund

3    account statement for the previous six-month period.

4           Plaintiff is cautioned that this action will be subject to dismissal without prejudice if

5    Plaintiff fails to timely comply with this order. A dismissal without prejudice allows Plaintiff

6    to refile the case with the Court, under a new case number, when Plaintiff can file a

7    complete application to proceed in forma pauperis or pay the required filing fee.

8           The Clerk of the Court is directed to send Plaintiff the approved form application to

9    proceed in forma pauperis for an inmate with instructions, and to retain the complaint

10   (ECF No. 1-1) but not file it at this time.

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12          DATED: April 10, 2025

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14                                                 UNITED STATES MAGISTRATE JUDGE

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